          Case 3:20-cr-03184-JLS Document 36 Filed 10/19/20 PageID.95 Page 1 of 1
                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                       Case No. 20cr3184-JLS-2

                                      Plaintiff,
                       vs.
                                                       JUDGMENT OF DISMISSAL
Rufus Green (2),                                                    - - -•·· ··-·•• ·---   ·- -------··-- - ,
                                                                                   FILED
                                    Defendant.                              ,--- - ·-· -
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                                                                     SOUTfit_•< , , ; I'.°. iR!C- oc ,AL!FOR NIA
                                                                     BY                               DEP UTY
IT APPEARING that the defendant is now entitled to be discharg

      an indictment has been filed in another case against the defendant and the Court has
 •    granted the motion of the Government for dismissal of this case, without prejudice; or

 •    the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal, without prejudice; or

 •    the Court has granted the motion of the defendant for a judgment of acquittal; or

 •    a jury has been waived, and the Court has found the defendant not guilty; or

 •    the jury has returned its verdict, finding the defendant not guilty;

 •    of the offense(s) as charged in the Indictment/Information:




 Dated:   10/19/2020
                                                   Hon. Michael S. Berg
                                                   United States Magistrate Judge
